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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
-------------------------------------------------------------------X
                                                                   :
                                                                   : CASE NO.: 18-27035
 IN RE:                                                            :
                                                                   : CHAPTER: 13
 Gregory C. Tobias                                                 :
 Rosalind M Russ-Tobias                                            : HON. JUDGE.:
                                                                   : Jerrold N. Poslusny Jr.
 Debtors                                                           :
                                                                   : HEARING DATE:
                                                                   :
                                                                      January 28, 2020 at 10:00 AM
                                                                   :
                                                                   :
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               NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

        PLEASE TAKE NOTICE, that upon the application SN Servicing Corporation as
Servicer for U.S. Bank Trust National Association, as Trustee of the Chalet Series III Trust, the
undersigned shall move this Court for an Order, pursuant to 11 U.S.C. 362(d)(1), vacating the
automatic stay to permit movant, its successors and/or assigns, to enforce its mortgage on the
Debtor’s premises located at 110 Sweet Bay Avenue, Sicklerville, NJ 08081 and for such other
and further relief as is just and proper.


        This motion shall be heard at the United States Bankruptcy Court, District of New Jersey
                                                     January 28, 2020 at 10:00 AM
400 Cooper Street, 4th Floor, Camden, NJ 08101, on ______________________________ or as
soon thereafter as counsel may be heard.
        PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, must be served
so as to be received not later than seven (7) days before the return date of this motion. If you
mail your response to the Court for filing, you must mail it early enough so that the Court will
receive it by the date stated above.


        Pursuant to D.N.J. LBR 4001-1 et seq the movant waives oral argument and the court
may not hold a hearing unless opposition papers are timely filed. Pursuant to D.N.J. LBR 9013-
1(d) et seq., if you wish to contest the within motion, you must file with the Office of the Clerk
of the Bankruptcy Court, responding papers stating with particularity the basis of your opposition
to the within Motion. A copy of the proposed Order which is sought is enclosed with this Motion.


        If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an order granting relief from the automatic
stay.


        Statement of Non-Necessity of Brief: The movant certifies pursuant to D.N.J. LBR
9013-2 that the within motion involves common questions of law and fact and does not involve
complex or novel issues such as to require the submission of a legal brief.


Dated: New York, NY
       January 3, 2020

                                             By: /s/ Jonathan Schwalb
                                             Jonathan Schwalb, Esq.
                                             FRIEDMAN VARTOLO LLP
                                             Attorneys for SN Servicing Corporation as Servicer
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